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                 Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 1 of 20 Page ID #:3
                                       Assigned for all purposes to: Torrance Courthouse, Judicial Officer: Ramona See

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Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 2 of 20 Page ID #:4
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 3 of 20 Page ID #:5
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 4 of 20 Page ID #:6
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 5 of 20 Page ID #:7
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 6 of 20 Page ID #:8
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 7 of 20 Page ID #:9
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 8 of 20 Page ID #:10
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 9 of 20 Page ID #:11
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 10 of 20 Page ID #:12
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 11 of 20 Page ID #:13
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 12 of 20 Page ID #:14
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 13 of 20 Page ID #:15
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 14 of 20 Page ID #:16
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 15 of 20 Page ID #:17
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 16 of 20 Page ID #:18
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 17 of 20 Page ID #:19
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 18 of 20 Page ID #:20
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 19 of 20 Page ID #:21
Case 2:20-cv-00316-JFW-RAO Document 1-1 Filed 01/10/20 Page 20 of 20 Page ID #:22
